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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                           CRIMINAL FILE NO.
         v.                                1:08-CR-153-TWT
 EDGAR JAMAL GAMORY
 also known as J.B. and VAUGHN
 GREENE also known as Smooth,
   Defendants.


                                      ORDER


      This is a criminal action.      It is before the Court on the Report and

Recommendation [Doc. 132] of the Magistrate Judge recommending denying the

Motions to Suppress Evidence [Docs. 54, 61 & 78] of the Defendants Edgar Gamory

and Vaughn Greene. For the reasons set forth in the thorough and well reasoned

Report and Recommendation, the Defendant Gamory has not made a “substantial

preliminary showing” that the agent made a knowingly and intentionally false

statement in the affidavit submitted in support of the search warrant for 4751

Riverwalk Trail. Therefore, the Defendant was not entitled to an evidentiary hearing

under Franks v. Delaware, 438 U.S. 154 (1978). There was consent to search the

garage and the Explorer. Furthermore, the search of 4751 Riverwalk Trail falls within
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the good faith exception. The Objections of Defendant Greene are without merit and

have no effect on the findings of consent and probable cause with respect to the search

of the garage and the Explorer. The Court approves and adopts the Report and

Recommendation as the judgment of the Court. The Defendants’ Motions to

Suppress Evidence [Docs. 54, 61 & 78] are DENIED.

         SO ORDERED, this 27 day of March, 2009.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     United States District Judge




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